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investment
: CONTRACTS
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April 2, 2025
The Honorable Analisa Torres pO Cc V | 0 s $2.

United States District Judge
United States Courthouse
500 Pearl St.

New York, NY 10007

Re: Ripple Labs, Inc.

Emergency Request to Present Decisive Evidence in Favor

of the Defendants and in Favor of Liberty for the American People

Interest - Decisive Evidence

I, Justin W. Keener, am not a party to this lawsuit but I certify that I have an
interest in its outcome for multiple reasons. For one — by God’s miracle — I hold
data and information believed to be decisive evidence to settle controlling
questions and matters central to 10 years of nightmarish chaos thrown upon all of
. us unsuspecting Americans.

This proprietary information would be of tremendous interest and value to

the defendants and the broader crypto industry. Further, I believe the information

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would be of immeasurable interest and value to the broader crypto industry, the

American people, and the Congress.

Investment Contract Collection - Experience - Qualifications

First, I am the owner of what is likely the only curated investment contract

collection known. Despite the difficulty and time required, we started collecting
the documents for purposes of deeper research into this endeavor. Months later,
after validating my theory about a certain interagency group tied to this case and all
others, the focus of the collection shifted from research and curiosity to
preservation and protection. My first instinct was to aggressively locate, acquire,
and preserve the contracts as an important part of the historical record.

Second, the investment contracts as mentioned in the securities acts began to

disappear 50 to 60 years ago such that they no longer exist today. For that reason,
there was obvious value in curating a collection to preserve any that could be
located for the purpose of presenting said tangible evidence on original paper with
original signatures. Having them in physical form further unlocked the
understanding of their true nature of form, and substance, and financial features.

Last, incidental to this entire endeavor I have become an expert on the

definition of security, the Howey Test, and investment contracts, as well as the

1933-1934 Acts. My foundation as a self-made venture investor with 20+ years
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of experience with investing in several hundred companies set me up for success.
Essentially, I faced little or no learning curve in these particular areas of study.
By having these tangible investment contracts in hand, I have been able to
understand them fully from all three viewpoints of form, and substance, and
financial features. When an object or idea is fully understood, as investment
contracts are to me, there is no need to toggle the pieces to make something work.
- Tndeed, when the object or idea has become crystal clear - genuinely

crystalized - it will simply “be itself” and will not be manipulated into something

that it is not.

Please Grant this Request, the Truth Must Be Known and Liberty Upheld

Ripple’s public statements indicate that it has expended not less than
$175,000,000 to defend itself over this litigation, and a statement made several
days ago suggests that it may surrender another $50,000,000 as part of a settlement
with the SEC. That totals not less than $225,000,000 by rough/low estimates. Our
team notes that if we were Ripple or any other defendant, we would want to know
everything, especially given the staggering numbers involved.

As for the damages done to me in the 1934 Act faux dealer case (one of
among roughly 20 cases), which was parallel to and directly linked to all other faux

dealer cases and all crypto cases, my legal fees alone were upwards of
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$15,000,000. While that is a fraction of Ripple’s legal fees, keep in mind that I’m
a self-made SSFO (small single family office) - that was my personal money - not
company funds. Ouch. And worse, the total damages done to me are a multiple of
that, and likely the same for Ripple and all others. My injuries will be addressed
elsewhere, but this illustrates the magnitude of the devastation that spreads high,
far, and wide.

Needless to say, my studies were a very expensive self-education and this
has been a very costly endeavor in many ways. Please rest assured that I am
uniquely positioned, exceptionally qualified, and deeply educated on these matters.

The foregoing information was included to enable the Court to consider this
request to present to the Court limited proprietary data and information that is in
my possession (lawfully of course). Simply put: this data is believed to be
decisive evidence never presented before.

If permitted, we will select and submit a portion of data, information, and
analysis generated by our system, The Mainframe. This would perhaps total five to
10 pages in a casual format that could be quickly reviewed and understood. It
would include some definitions, summaries, bullet points, images, articles,
publications, and the like. All certified and real — overall bulletproof. Ifthe Court

allows, the information could be transmitted within two (to four) days with a
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request for portions of it to be redacted and under seal (as determined at the time
of submission based on the nature of each piece of evidence).

We are aware that my request to present this data, especially at this stage, is
not ideal and it is a very unusual request. We will pray that it is granted, as we
believe this never presented before data is of the highest importance. Please know

that intentions are genuine, sincere, and respectfully requested this 2nd day of

April, 2025.

ie, W. Keener

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